                           EXHIBIT C




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                                                     Akabane, Yoshiharu MD (Bulger) 6/26/2008 11:30:00 AM
                                                       1                                                                            3

    1            UNITED STATES DISTRICT COURT               1                       INDEX
    2            FOR THE DISTRICT OF MASSACHUSETTS          2         EXAMINATION                           PAGE
    3                   MDL Docket No. 1629
                                                            3         YOSHIHARU AKABANE, MD
    4                   Master File No. 04-10981
                                                            4         BY MR. CHAFFIN                               5
    5     ************************************
                                                            5         BY MR. RICHER                                59
    6     IN RE: NEURONTIN MARKETING, SALES
    7          PRACTICES AND PRODUCTS                       6
    8          LIABILITY LITIGATION                         7                     EXHIBITS
    9     ************************************              8         NO.        DESCRIPTION                  PAGE
   10     THIS DOCUMENT RELATES TO:
                                                            9         Ex. 1     Office chart of Mrs. Bulger.....        4
   11     RONALD J. BULGER, SR., as Administrator
                                                                 10
   12     of the Estate of Susan Bulger, Deceased
                                                                 11
   13     ************************************
   14                                                            12
   15     VIDEOTAPED DEPOSITION OF YOSHIHARU AKABANE,            13
   16                                                            14
   17                  Held At:                                  15
                     Hare & Chaffin
                                                                 16
   18               160 Federal Street
                                                                 17
                 Boston, Massachusetts 02110
   19                                                            18
                    June 26th, 2008                              19
   20                 11:03 AM                                   20
   21                                                            21
   22     Reported By:
                                                                 22
          Maureen O'Connor Pollard, CSR, RPR, CLR
                                                                 23
   23
   24     Videographer: William Slater                           24



                                                       2                                                                            4

    1     APPEARANCES:                                      1                 PROCEEDINGS
    2     FOR THE PLAINTIFF:                                2
    3        BY: MARSHALL RICHER, ESQ. (via phone)          3                 (Whereupon, Akabane Exhibit 1 was
    4            FINKELSTEIN & PARTNERS                     4                 marked for identification.)

    5            436 Robinson Avenue                        5                 THE VIDEOGRAPHER: This is the video

    6            Newburgh, New York 12550                   6           operator, Tom Tracy of Veritext.

    7            800-634-1212                               7                 Today's date is June 26th, 2008. The

    8            mricher@lawampm.com                        8           time is 11:03 a.m..
                                                            9                 We are here at the offices of Hare &
    9
                                                            10          Chaffin located at Boston, Mass to take the
   10     FOR THE DEFENDANTS:
                                                            11          videotaped deposition of Yoshiharu Akabane, M.D.
   11        BY: DAVID B. CHAFFIN, ESQ.
                                                            12          in the matter of Neurontin Marketing and Sales
   12            HARE & CHAFFIN
                                                            13          Practices versus Pfizer, Incorporated in the
   13            160 Federal Street
                                                            14          U.S. District Court of Massachusetts, District
   14            Boston, Massachusetts 02110
                                                            15          of Massachusetts, Docket Number 1629.
   15            617-330-5000
                                                            16                Will counsel please voice identify
   16            dchaffin@hare-chaffin.com
                                                            17          yourselves and state whom you represent?
   17
                                                            18                MR. CHAFFIN: Thank you, Tom.
   18     FOR THE DEPONENT:
                                                            19                David Chaffin for the Defendants.
   19        BY: JAMES A. BELLO, ESQ.
                                                            20          Good morning.
   20            MORRISON MAHONEY LLP                       21                MR. RICHER: Marshall Richer,
   21            250 Summer Street                          22          Finkelstein & Partners, for Plaintiffs.
   22            Boston, Massachusetts 02210                23                MR. BELLO: And lastly, Jim Bello from
   23            617-737-8803                               24          Morrison Mahoney on behalf of the witness,
   24            jbello@morrisonmahoney.com                      UNCERTIFIED ROUGH - UNCERTIFIED ROUGH - UNCERTIFI




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                                                                 53                                                              55

    1          Q. All right. And then that's your                     1          Q. So you prescribed Neurontin and Zoloft
    2       signature at the end?                                     2       for her?
    3          A. Yes.                                                3          A. Mm-hmm.
    4          Q. And then let's go back up to the                    4          Q. And subsequently Dr. Reimherr
    5       medication box, please. If you could read that.           5       prescribed Prozac?
    6          A. "Neurontin, 100 milligrams, 1 TID."                 6          A. Mm-hmm. And Neurontin.
    7          Q. What does that mean?                                7          Q. And Neurontin, same dosage as you?
    8          A. One three times a day. So she is to                 8          A. No. 400 milligrams.
    9       take 100 milligrams of Neurontin three times a            9          Q. Three times a day?
   10       day for, I assume it's one week. And then                 10         A. Yes.
   11       second week two three times a day, and then               11         Q. So he titrated her up to
   12       three three times a day, third week only.                 12      1,200 milligrams?
   13          Q. So you were titrating her up to                     13         A. Right.
   14       900 milligrams per day?                                   14         Q. And then after that she was a no show?
   15          A. Mm-hmm.                                             15         A. Correct.
   16          Q. And then below that?                                16         Q. Now, one of Dr. Reimherr's notes, and
   17          A. "Zoloft, 100 milligrams, one a day."                17      this is Page 8, "in the past the patient was
   18          Q. Why did you prescribe Neurontin for                 18      treated with Xanax and she was wondering whether
   19       her?                                                      19      she can get Xanax PRN, which I declined."
   20          A. For bipolar disorder, and I assume                  20             What's that all about, if you know?
   21       angry, irritable individual with a history of             21             MR. RICHER: Objection.
   22       substance abuse.                                          22             MR. BELLO: Objection.
   23          Q. A history of?                                       23             But you may answer if you can answer
   24          A. Substance abuse.                                    24      the question without guessing.



                                                                 54                                                              56

    1          Q. So you wanted to stay away from the                 1          A. Xanax is a benzodiazapine, and with a
    2       benzos?                                                   2       substance abuse history we tend to stay away
    3          A. Mm-hmm.                                             3       from that if we can. And also people who is
    4          Q. And anything else you wanted to stay                4       emotionally labile, they tend to be disinhibit,
    5       away from?                                                5       Xanax tend to disinhibit meaning she tend to get
    6          A. Well, medication which didn't work in               6       more labile.
    7       the past, and medication which make it harder             7              MR. CHAFFIN: Okay. Can we take about
    8       for her to take. In general the bipolar people            8       a two-minute break, please? Is that okay?
    9       are notoriously unreliable medication takers,             9       We've been going about an hour.
   10       they are not treatment compliant, and her                 10             Okay, Marshall.
   11       history is a good example of that, she comes in,          11             MR. RICHER: Sure.
   12       gone. And, you know, the treatment compliance             12             MR. CHAFFIN: Just a couple minutes.
   13       is probably the biggest issue with the bipolar            13      I don't have too much more, I don't think.
   14       individual.                                               14             THE VIDEOGRAPHER: It is 12:03 p.m.,
   15          Q. She actually did that twice with your               15      and we're going off the record on tape one.
   16       office, right?                                            16             (Whereupon, a recess was taken.)
   17          A. Mm-hmm.                                             17             THE VIDEOGRAPHER: It is 12:07 p.m.,
   18          Q. In and gone, right?                                 18      and we're back on the record on tape number one.
   19          A. Yep. You know, you can see she was                  19             MR. CHAFFIN: Thank you, Tom.
   20       seen only three times in my office. And the               20             BY MR. CHAFFIN:
   21       note with Dr. Reimherr, on the side it says               21         Q. Doctor, are you aware of the FDA alert
   22       February something, 7th, I prescribed Prozac,             22      on AEDs?
   23       and then February 25th no show, and that's the            23         A. Depend what you're talking about,
   24       last of our contact with Susan.                           24      referring to.




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